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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION


 ELITE PRECISION CUSTOMS LLC; TIM
 HERRON; FREDDIE BLISH; and FIREARMS
 POLICY COALITION, INC., a nonprofit
 corporation;

                                         Plaintiffs,
         v.
                                                          Civil Action No. _4:25-cv-44
 The BUREAU OF ALCOHOL, TOBACCO,
 FIREARMS AND EXPLOSIVES; JAMES R.
 MCHENRY III, in his official capacity as Acting
 Attorney General of the United States; MARVIN G.
 RICHARDSON, in his official capacity as the
 Acting Director of the Bureau of Alcohol, Tobacco,
 Firearms and Explosives,

                                         Defendants.

              COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF



       Plaintiffs Elite Precision Customs LLC (“Elite Precision”); Tim Herron; Freddie Blish; and

Firearms Policy Coalition, Inc. (“FPC”), file this Complaint for Declaratory and Injunctive Relief

against Defendants the Bureau of Alcohol, Tobacco, Firearms and Explosives; James R. McHenry

III, Acting Attorney General of the United States, in his official capacity; and Marvin G.

Richardson, Acting Director of the Bureau of Alcohol, Tobacco, Firearms and Explosives, in his

official capacity, and state the following:

                                        INTRODUCTION

       1.       This lawsuit challenges the federal ban on interstate transfers of handguns from

federally licensed dealers to individuals who are otherwise eligible to purchase and possess a

handgun for lawful purposes but cannot purchase directly from a dealer because they do not live


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in the same state as the dealer. Under federal law, it is a crime for an individual to “transport into

or receive in the State where he resides . . . any firearm purchased or otherwise obtained by such

person outside that State,” unless the transfer was by “bequest or intestate succession.” 18 U.S.C.

§ 922(a)(3). Federal law also bars licensed federal firearms dealers from selling firearms to

individuals who do not reside within the state in which a dealer’s place of business is located. See

18 U.S.C. § 922(b)(3) (collectively with § 922(a)(3), the “ Nonresident Handgun Purchase Ban”).

        2.      Despite mandating a nationally accessible background check (or state-level

equivalent) to confirm proposed purchasers are not barred by federal law from possessing a

handgun, 18 U.S.C. § 922(t), and despite exempting interstate sales and transfers of shotguns and

rifles from the ban, 18 U.S.C. § 922(b)(3), otherwise-eligible individuals cannot purchase

handguns directly from out-of-state dealers. The only way to purchase a handgun from an out-of-

state dealer is to arrange and pay for that dealer to ship the handgun to an in-state dealer, at personal

cost and substantial delay, to complete the transfer. This imposes a hardship on Plaintiffs Herron

and Blish, who frequently travel and wish to purchase handguns directly from licensed dealers

without having to coordinate transferring them to an FFL in their home states. It also imposes a

hardship on customers and prospective customers of Elite Precision, who are sometimes

individuals who live outside of Texas and who either have to forego purchases or coordinate a

purchase through a middleman FFL in their home state.

        3.      This ban violates the Second Amendment. In Mance v. Holder, 74 F. Supp. 3d 795

(N.D. Tex. 2015), this Court held that the Nonresident Handgun Purchase Ban violated the Second

Amendment and enjoined its operation. The Fifth Circuit reversed in Mance v. Sessions, 896 F.3d

699 (5th Cir. 2018). Using the “two-step” test later rejected in New York State Rifle & Pistol

Association v. Bruen, 597 U.S. 1 (2022), the Fifth Circuit concluded that the Nonresident Handgun



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Purchase Ban survived strict scrutiny: the Circuit determined that the ban was narrowly tailored to

achieve the compelling interest of preventing the circumvention of state law restrictions on

handgun possession. Mance, 896 F.3d at 706–11.

       4.      Bruen abrogated the approach employed by the Fifth Circuit in Mance by expressly

rejecting the use of means-end scrutiny as inconsistent with District of Columbia v. Heller, 554

U.S. 570 (2008). Bruen, 597 U.S. at 17–22. Bruen reiterated that, “when the Second Amendment’s

plain text covers an individual’s conduct, the Constitution presumptively protects that conduct.”

Bruen, 597 U.S. at 17. And a court may “[o]nly” conclude that the conduct falls outside the Second

Amendment’s protection if the government can “justify its regulation by demonstrating that it is

consistent with the Nation’s historical tradition of firearm regulation.” Id. at 24.

       5.      This Court already conducted the type of historical analysis that Bruen requires in

Mance. The Court observed that “the earliest known state residency restrictions on the purchase

or possession of firearms” occurred in 1909. 74 F. Supp. 3d at 805 (“Defendants have not

presented, and the Court cannot find, any earlier evidence of longstanding interstate, geography-

based, or residency-based firearms restrictions.”). Given this history, the Nonresident Handgun

Purchase Ban must be enjoined again.

                                             PARTIES

       6.      Plaintiff Elite Precision is licensed firearms retailer located in Mansfield, Texas

within Tarrant County. But for the enforcement of the laws challenged herein and the risk of

criminal prosecution and the loss of its firearms license and livelihood, Elite Precision would sell

handguns to law-abiding individuals who do not reside within Texas. For any such sales, Plaintiff

Elite Precision would comply with the legal conditions of sale in both Texas and the customer’s

state of residence. To that end, Elite Precision has out-of-state customers who desire to purchase



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handguns directly from Elite Precision but have refrained from doing so due to Section 922(a)(3)

or have structured such purchases through dealers in their home state, adding both cost and

complexity to the transaction.

       7.      Plaintiff Tim Herron is a resident of New Mexico. But for the enforcement of the

laws challenged herein and the risk of criminal prosecution and the potential loss of his Second

Amendment protected rights, Herron would purchase a handgun from Elite Precision.

       8.      Plaintiff Freddie Blish is a resident of Arizona. But for the enforcement of the laws

challenged herein and the risk of criminal prosecution and the potential loss of his Second

Amendment protected rights, Blish would purchase a handgun from Elite Precision.

       9.      Plaintiff Firearms Policy Coalition, Inc. (“FPC”), is a nonprofit membership

organization incorporated under the laws of Delaware with its principal place of business in Clark

County, Nevada, and members across the country. FPC works to create a world of maximal human

liberty and freedom and to promote and protect individual liberty, private property, and economic

freedoms. It seeks to protect, defend, and advance the People’s rights, especially but not limited to

the inalienable, fundamental, and individual right to keep and bear arms and protect the means by

which individuals may exercise the right to carry and use firearms. FPC serves its members and

the public through legislative advocacy, grassroots advocacy, litigation and legal efforts, research,

education, outreach, and other programs. FPC brings this action on behalf of its members,

including Plaintiffs Elite Precision, Herron, and Blish, who are members.

       10.     Defendant James R. McHenry III is the Acting United States Attorney General and

is responsible for executing and administering the laws, regulations, customs, practices, and

policies of the United States. Defendant McHenry leads Defendant United States Department of

Justice (“DOJ”). Defendant McHenry is ultimately responsible for overseeing the DOJ, including



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the Defendant Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”), which is an arm

of the DOJ. Defendant McHenry is sued in his official capacity.

       11.     Defendant Marvin G. Richardson is the Director of Defendant ATF. As Acting

Director of ATF, Defendant Richards is responsible for the creation, implementation, execution,

and administration of the laws, regulations, customs, policies, and practices of the United States,

particularly those related to firearms. He is currently enforcing and has been enforcing at all times

relevant to the Complaint, the laws, regulations, customs, practices, and policies underlying the

Nonresident Handgun Purchase Ban. Defendant Richardson is sued in his official capacity.

                                 JURISDICTION AND VENUE

       12.     This Court has jurisdiction pursuant to 28 U.S.C. § 1331, because Plaintiffs’ claims

arise under federal law.

       13.     This Court has jurisdiction to grant the declaratory relief sought, pursuant to

28 U.S.C. § 2201, and additional relief pursuant to 28 U.S.C. §§ 2202, 2412.

       14.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(e)(1)(B) and

(C) because Elite Precision operates and has its principal place of business in this district; the

prohibited transaction giving rise to this action would occur in this district; and Plaintiff FPC has

members (including Plaintiffs) that operate, reside, and/or would transact—and whose rights are

primarily being infringed—in this district.

             BACKGROUND ON NONRESIDENT HANDGUN PURCHASE BAN

       15.     Congress enacted the Nonresident Handgun Purchase Ban as part of the Gun

Control Act of 1968. 18 U.S.C. §§ 921–31. Sections 922(a)(3) and 922(a)(5) “forbid individuals

from transporting into or receiving in their state of residency any firearm acquired outside of that

state, except for firearms acquired by bequest or intestate succession or pursuant to a transfer from



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a federally licensed dealer under 18 U.S.C. § 922(b)(3).” Mance, 74 F. Supp. 3d at 799. These

consumer-targeted bans are backed up by a retailer-targeted ban that criminalizes selling or

delivering handguns “to any person who the [dealer] knows or has reasonable cause to believe”

resides in another state. 18 U.S.C. § 922(b)(3); see also 27 C.F.R. § 478.99(a) (prohibiting licensed

dealers from selling or delivering handguns to anyone “who the licensee knows or has reasonable

cause to believe does not reside in . . . the State in which the licensee's place of business or activity

is located”).

        16.     Although the Fifth Circuit upheld the challenged regulatory scheme in Mance

applying strict scrutiny, the fact is that even considering the policy justifications for the Act (which

are no longer relevant under Bruen), the theory that out-of-state handgun transfers would permit

evasion of state laws because no firearm dealer could be expected to know the laws of all 50 states

and the District of Columbia simply does not make sense today.

        17.     As this Court observed in Mance, those same interests are separately addressed—

and much more effectively—by modern background check requirements:


      When the federal interstate handgun transfer ban was enacted in 1968, an instant
      electronic background check system did not exist. In 1993, Congress sought to
      strengthen the ability of all FFLs to avoid transferring firearms to persons who
      could not legally possess them under state or federal law by amending the 1968
      Gun Control Act with the “Brady Act.” See Brady Handgun Violence Prevention
      Act, Pub. L. No. 103–159, 107 Stat. 1536 (1993). Pursuant to the Brady Act, before
      an FFL may sell or deliver a firearm to a non-FFL, he must complete a criminal
      background check through the National Instant Criminal Background Check
      System (“NICS”) to ensure the purchaser is legally entitled to obtain and possess
      the firearm. 18 U.S.C. § 922(t). States may also create a Point of Contact (“POC”),
      who acts as a liaison to NICS, to run the background check and receive notice of
      anticipated firearms purchases by its citizens. See 28 C.F.R. §§ 25.1–.2, 25.6(d). In
      other words, to complete a background check, the FFL contacts either (1) the state
      POC, if there is one; or (2) NICS, if the state has not designated a POC. See id.
      Current law therefore ensures potential purchasers can legally acquire and possess
      a firearm under state and federal law, and those states that desire to receive notice
      of firearms purchased by its citizens simply establish a POC.
Mance, 74 F. Supp. 3d at 809.

        18.     In short, “FFLs, wherever they may be located, are required to conduct background

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checks under current law before they sell or deliver any firearm to a non-FFL. These checks

identify both federal and state disabilities.” Id. at 810 (citing §§ 922(b)(3) and (t)). Moreover,

Defendant Richardson “is required to annually furnish FFLs with an updated compilation of state

laws and published ordinances, which is necessary for them to ensure that their firearms

transactions comport with state and local law.” Id. at 810 n.11 (citing 27 C.F.R. § 478.24).

        19.     As a result, the only function of the Nonresident Handgun Purchase Ban today is to

add complexity and cost to the purchase of handguns from licensed dealers by lawful purchasers.

An individual hoping to purchase a handgun from a dealer outside his or her home state must

arrange and pay for the out-of-state retailer to ship the handgun to a licensed in-state retailer that

would then complete the sale and transfer. Not all retailers are willing to perform interstate transfer

services, however, and those that do typically charge a significant fee. And individuals who desire

to acquire a handgun while out of state for use out of state simply cannot do so.

   THE NONRESIDENT HANDGUN PURCHASE BAN’S IMPACT ON PLAINTIFFS

        20.     Texas law does not bar the sale of handguns to people residing in other states.

Plaintiff Elite Precision would sell handguns directly to consumers residing in other states (and in

the District of Columbia), but refrains from doing so because the Nonresident Handgun Purchase

Ban would subject it and its owner to arrest, prosecution, incarceration, a fine, and a complete loss

of the business if it were to do so.

        21.     Thus, when consumers residing outside Texas approach Elite Precision about

purchasing handguns, it is company policy to decline to engage in those sales, and instead, Elite

Precision offers only to ship the consumers’ desired handguns to a retailer in their state for transfer

there. Compliance with the Nonresident Handgun Purchase Ban thus makes Elite Precision

handguns more expensive for these out-of-state consumers, and it delays such transactions. The



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Federal Purchase Transfer Ban costs Elite Precision lost sales every year as competitors, trainers,

hunters, or other visitors to the Dallas-Fort Worth area frequently seek to purchase handguns

directly from Elite Precision but decide not to when they learn they have to coordinate the sale

through another dealer in their home state. The Ban violates the Second Amendment protected

rights of its prospective out-of-state customers. Elite Precision brings this action on its own behalf,

and on behalf of its out-of-state handgun customers and would-be customers, including Plaintiffs

Herron and Blish.

       22.     Tim Herron is a peaceable citizen eligible to possess firearms under federal law,

New Mexico law, and Texas law. Herron is a competitive shooter and a firearms trainer. He travels

forty to fifty times a year to conduct firearms training classes around the country. When he travels,

he regularly teaches at ranges that operate as FFLs as well and several times a year he finds a

handgun while on the road that he would like to purchase.

       23.     Due to the Nonresident Handgun Purchase Ban, however, he is never able to

purchase the handgun on the spot and if he does eventually purchase it, which he does one or two

times every year, the purchase involves arranging delivery of the handgun to an FFL located in

Albuquerque, New Mexico, causing an additional cost of $30-40 and a delay on taking possession

of the handgun.

       24.     He travels approximately annually to Texas to conduct a firearms training class

there. While in Texas, if it were not for the Nonresident Handgun Purchase Ban, Herron would

purchase a handgun directly from Elite Precision.

       25.         Because Herron, however, does not reside in Texas and does not wish to face

prosecution for violating Sections 922(a)(3) or (a)(5), he cannot take possession of a handgun from

Elite Precision.



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       26.     Plaintiff Blish is a peaceable citizen eligible to possess firearms under federal law,

Arizona law, and Texas law. Blish is an instructor who teaches courses in handgun self-defense

both in Arizona and in other states in the country, including in Texas. When he travels, Blish often

shops for firearms and would, from time to time, purchase a handgun directly from an out of state

dealer if it were not for the Nonresident Handgun Purchase Ban.

       27.     Specifically, if it were legal for him to do so, he would buy a handgun directly from

Elite Precision.

       28.     However, because Blish does not reside in Texas and does not wish to face

prosecution for violating Sections 922(a)(3) or (a)(5), he would not take possession of a handgun

from Elite Precision.

       29.     Plaintiff FPC’s members include peaceable, responsible individuals throughout the

United States who desire to, are not prohibited from, and do, purchase handguns for lawful

purposes, including self-defense. But for the Nonresident Handgun Purchase Ban, FPC’s members,

including Plaintiffs Herron and Blish, would purchase handguns from dealers located outside their

state of residence. The Nonresident Handgun Purchase Ban thus prohibits these intended transfers.

The ban limits their choices as consumers, harms competition in the market, and raises prices,

owing both to the fact that in-state dealers are shielded from competition by a national handgun

market, and to the shipping and transfer fees that are incurred in the course of interstate handgun

sales solely as a direct result of the Nonresident Handgun Purchase Ban. FPC brings this action on

behalf of these members, including Plaintiffs Herron and Blish.

       30.     FPC’s members include peaceable, responsible individuals and entities throughout

the United States who desire to, and do, sell handguns for traditional lawful purposes, including

self-defense. But for the Nonresident Handgun Purchase Ban, FPC members, including Plaintiff



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Elite Precision, would sell handguns directly to consumers outside the state in which they transact

business. The Nonresident Handgun Purchase Ban thus frustrates these intended sales. To the

extent that FPC members do sell handguns to consumers outside the sellers’ states via middlemen

dealers in the buyers’ states (thus driving up the transaction costs), the Nonresident Handgun

Purchase Ban makes these sales less competitive. FPC brings this action on behalf of these

members as well, including Plaintiff Elite Precision, who in turn, would assert not only their rights,

but the rights of their customers throughout the United States.

                                      CLAIM FOR RELIEF

                         VIOLATION OF THE U.S. CONSTITUTION

                                      U.S. CONST. AMEND. II

                          (Violation of the Right to Keep and Bear Arms)

          31.   Plaintiffs incorporate the preceding paragraphs by reference as if fully set forth

herein.

          32.   The Second Amendment to the United States Constitution states: “A well regulated

Militia, being necessary to the security of a free State, the right of the people to keep and bear

Arms, shall not be infringed.” U.S. CONST. amend. II. Bruen confirmed that means-end balancing

in the two-step inquiry conducted by the Fifth Circuit in Mance is not the proper test for evaluating

Second Amendment claims: “When the Second Amendment’s plain text covers an individual’s

conduct, the Constitution presumptively protects that conduct. The government must then justify

its regulation by demonstrating that it is consistent with the Nation’s historical tradition of firearm

regulation. Only then may a court conclude that the individual’s conduct falls outside the Second

Amendment’s ‘unqualified command.’ ” Bruen, 597 U.S. at 24 (citing Konigsberg v. State Bar of

Cal., 366 U.S. 36, 50 n.10 (1961)).



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       33.     Plaintiffs’ proposed conduct here is covered by the Second Amendment’s plain

text. Plaintiffs are part of the “the people” that the Second Amendment protects and handguns, of

course, are “arms” protected by the Second Amendment. See Heller, 554 U.S. at 580, 627–28, 29;

Bruen, 597 U.S. at 31–32. Plaintiffs’ proposed course of conduct here—purchasing handguns for

lawful purposes—is also “presumptively protect[ed]” by the Constitution. Bruen, 597 U.S. at 17.

Thus, it is Defendants’ burden to “justify its regulation by demonstrating that [the regulation] is

consistent with the Nation’s tradition of firearm regulation.” Bruen, 597 U.S. at 24.

       34.     Defendants cannot meet their burden here. In Mance, this Court already inquired

into the Nation’s historical tradition—or rather its lack of one—when it comes to residential

requirements for purchasing firearms. Under the now defunct two-step test, this Court reviewed

the historical record to “determine [whether] the law burdens conduct that falls within the Second

Amendment’s scope.” 74 F. Supp. 3d at 804; cf. Bruen, 597 U.S. at 19 (“Step one of the

predominant framework is broadly consistent with Heller, which demands a test rooted in the

Second Amendment’s text, as informed by history.”).

       35.     Defendants were tasked with trying to meet the same historical burden that Bruen

expressly requires, but they could not establish an analogous tradition of firearm regulation:

“Defendants list the earliest known state residency restrictions on the purchase or possession of

firearms, with the earliest of these restrictions occurring in 1909. Defendants have not presented,

and the Court cannot find, any earlier evidence of longstanding interstate, geography-based, or

residency-based firearm restrictions.” Mance, 74 F. Supp. 3d at 805 (citations omitted). This Court

concluded that “these early twentieth century state residency restrictions do not date back quite far

enough to be considered longstanding.” Id. Indeed, Bruen refused to consider there defendant New

York’s argument that early 20th-century regulations established a historical tradition when, as



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here, it was not consistent with the Founding Era history: “the 20th-century evidence presented by

respondents and their amici does not provide insight into the meaning of the Second Amendment

when it contradicts earlier evidence.” 597 U.S. at 66 n.28; see also id. at 36 (“[P]ost-ratification

adoption or acceptance of laws that are inconsistent with the original meaning of the constitutional

text obviously cannot overcome or alter that text.”) (quoting Heller v. District of Columbia, 670

F.3d 1244, 1274 n.6 (D.C. Cir. 2011) (Kavanaugh, J., dissenting) (emphasis in Heller)).

       36.     In short, the United States could not muster “any evidence of founding-era thinking

that contemplated that interstate, geography-based, or residency-based firearm restrictions would

be acceptable,” Mance, 74 F. Supp. 3d at 805. While the test has changed, history has not.

Defendants cannot meet their burden here. Accordingly, the Nonresident Handgun Purchase Ban

violates the Second Amendment.

                                    PRAYER FOR RELIEF

       Plaintiffs request the following relief from this Honorable Court:

       a.      Enter a declaratory judgment stating that the Nonresident Handgun Purchase Ban

       set forth in 18 U.S.C. §§ 922(a)(3), 922(a)(5), 922(b)(3), and 27 C.F.R. § 478.99(a), and

       all other related laws, regulations, policies, and procedures, violate the right to keep and

       bear arms secured by the Second Amendment to the United States Constitution;

       b.      Enter a permanent injunction enjoining Defendants’ enforcement or application of

       the Nonresident Handgun Purchase Ban set forth in 18 U.S.C. §§ 922(a)(3), 922(a)(5),

       922(b)(3), and 27 C.F.R. § 478.99(a), and all other related laws, regulations, policies, and

       procedures, because it violates the right to keep and bear arms secured by the Second

       Amendment to the United States Constitution;

       c.      Award Plaintiffs the costs of this action and reasonable attorneys’ fees; and



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       d.     Award Plaintiffs such other legal and equitable relief as is just and appropriate and

       as necessary to effectuate the Court’s judgment.



Dated: January 20, 2025

                                                    Respectfully submitted,

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